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                 1   2
                 2   SCHEER LAW GROUP, LLP
                     JOSHUA L. SCHEER #242722
                 3   REILLY D. WILKINSON #250086
                     155 N. Redwood Drive, Suite 100
                 4   San Rafael, CA 94903
                     Telephone: (415) 491-8900
                 5
                     Facsimile: (415) 491-8910
                 6   SLG File No.: A.065-033S-B
                     Attorneys for ACM INVESTOR SERVICES, INC., its successors and/or assignees
                 7
                                            UNITED STATES BANKRUPTCY COURT FOR
                 8
                                              THE EASTERN DISTRICT OF CALIFORNIA
                 9
                                                        SACRAMENTO DIVISION
             10
                     In re:                                           Bk. No. 21-20922-FEC
             11
                     KYLE CURTIS ASH,                                 Chapter 13
             12
                                                      Debtor,         DCN. No. RDW-001
             13
                                                                      DECLARATION OF LAYLA GABERTAI
             14                                                       IN SUPPORT OF MOTION FOR RELIEF
                                                                      FROM AUTOMATIC STAY
             15                                                       Hearing-
                                                                      Date: June 29, 2021
             16                                                       Time: 09:00 am
                                                                      Place: Bankruptcy Court
             17                                                              501 I Street, Seventh Floor
                                                                             Courtroom 28
             18                                                              Sacramento, California
                                                                             VIA TELEPHONE OR VIDEO
             19                                                              CONFERENCE

             20

             21

             22
                                    I, LAYLA GABERTAI, declare and state as follows:
             23
                                    1.      As to the following facts, I know them to be true of my own personal
             24
                     knowledge, and if called upon to testify in this action, I could and would testify competently to
             25
                     the following facts personally known by me to be true.
             26
                                    2.      I am a paralegal with the Scheer Law Group LLP, who is attorney of
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                     record for the ACM INVESTOR SERVICES, INC., its successors and/or assignees ("Lender").
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                 1                   3.      I have personal knowledge of the facts set forth in this Declaration, and if

                 2   called upon as a witness, would and could competently testify to the following.

                 3                   4.      Pursuant to the Trustee’s website, the Debtor has failed to make his first

                 4   two plan payments and is $10,120 delinquent to the Trustee .

                 5

                 6           I declare under penalty of perjury under the laws of the United States of America that the

                 7   foregoing is true and correct and that this Declaration was executed on June 7, 2021, at Irvine,

                 8   California (city, state).

                 9

             10                                                     /s/ Layla Gabertai
                                                                    LAYLA GABERTAI
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